           Case 1:20-cv-07015-JMF Document 12 Filed 11/06/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
NATALIA JUSCINSKA,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :       20-CV-7015 (JMF)
                                                                       :
404 HOTEL LLC,                                                         :    ORDER OF DISMISSAL
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

         The Court having been advised at ECF No. 11 that all claims asserted herein have been
settled, it is ORDERED that the above-entitled action be and is hereby DISMISSED and
discontinued without costs, and without prejudice to the right to reopen the action within sixty
days of the date of this Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed by the aforementioned deadline;
any application to reopen filed thereafter may be denied solely on that basis. Further, requests
to extend the deadline to reopen are unlikely to be granted.

        If the parties wish for the Court to retain jurisdiction for the purposes of enforcing any
settlement agreement, they must submit the settlement agreement to the Court by the deadline to
reopen to be “so ordered” by the Court. Per Paragraph 4(B) of the Court’s Individual Rules and
Practices for Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction
to enforce a settlement agreement unless it is made part of the public record.

        Any pending motions are moot. All conferences are canceled. The Clerk of Court is
directed to close the case.

        SO ORDERED.

Dated: November 6, 2020
       New York, New York                                     _______________________________
                                                                     JESSE M. FURMAN
                                                                   United States District Judge
